Case 1:14-cv-02242-KMT Document 7 Filed 09/05/14 USDC Colorado Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 14-cv-02242-KMT

FRED SHRADER,

              Plaintiff,

v.

FIRSTSOURCE ADVANTAGE, LLC, a New York limited liability company,

              Defendant.


                 NOTICE OF DISMISSAL WITH PREJUDICE
______________________________________________________________________

      COMES NOW the Plaintiff by his undersigned attorney of record who hereby

notifies the Court that the parties have settled this case and pursuant to Fed.R.Civ.P.

41(a)(1)(A)(i) hereby dismisses this case with prejudice and on the merits pursuant

hereto with each party to pay his or its own attorney’s fees and costs.


Dated: September 2, 2014.


                                         Respectfully submitted,


                                         _s/ David M. Larson____________
                                         David M. Larson, Esq.
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                                         Englewood, CO 80112
                                         (303) 799-6895
                                         Attorney for the Plaintiff
